Case 0:10-cv-60809-WJZ Document 1 Entered on FLSD Docket 05/14/2010 Page 1 of 16




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO.

  SANDRA W. FILLICHIO,

        Plaintiff,

  v.

  REDLINE RECOVERY SERVICES, LLC,

        Defendant.

  _________________________________________/

                                    COMPLAINT
                                   JURY DEMAND

        1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

  U.S.C. §1692 et seq. (“FDCPA”), the Florida Consumer Collection Practices Act,

  Fla. Stat. §559.55 et seq. (“FCCPA”), and the Telephone Consumer Protection Act,

  47 U.S.C §227, et seq. (“TCPA”).

                           JURISDICTION AND VENUE

        2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367 and

  15 U.S.C. §1692k. Venue in this District is proper because Plaintiff resides here

  and Defendant placed telephone calls into this District.

                                       PARTIES

        3.     Plaintiff, SANDRA W. FILLICHIO, is a natural person, and citizen of

  the State of Florida, residing in Broward County, Florida.
Case 0:10-cv-60809-WJZ Document 1 Entered on FLSD Docket 05/14/2010 Page 2 of 16




         4.    Defendant, REDLINE RECOVERY SERVICES, LLC, is a limited

  liability company and citizen of the State of New York with its principal place of

  business at 95 John Muir Drive, Amherst, New York 14228.

         5.    Defendant regularly uses the mail and telephone in a business the

  principal purpose of which is the collection of debts.

         6.    Defendant regularly collects or attempts to collect debts for other

  parties.

         7.    Defendant is a “debt collector” as defined in the FDCPA.

         8.    Defendant was acting as a debt collector with respect to the collection

  of Plaintiff’s alleged debt.

                                 FACTUAL ALLEGATIONS

         9.    Defendant sought to collect from Plaintiff an alleged debt arising from

  transactions incurred for personal, family or household purposes.

         10.   Defendant left the following messages on Plaintiff’s voice mail on her

  cellular or home telephone, as indicated, on or about the dates stated:

         February 13, 2009 – Cellular Phone
         Hi Sandra Fillichio. My name is Mr. Griffith with the office of Redline,
         ma’am. I need to speak to you regarding a pending case that was sent to our
         department here for my client Bank of America. The office number is 1-888-
         475-9131, extension 4718. Case ID number is 3040053. Thank you.

         February 19, 2009 – Cellular Phone
         Hi, Sandy Fillichio, sorry if I mispronounced the name, ma'am, I need you to
         contact my office. My name is Mr. Griffith at the office of Redline ma’am.
         I've been retained by my client, which is Bank of America to file a pending

                                            2
Case 0:10-cv-60809-WJZ Document 1 Entered on FLSD Docket 05/14/2010 Page 3 of 16




        case through Broward County for a former Visa account. There may be a
        couple directions we could explore to avoid any further action for this, but I
        need to hear from you right away. My office number is 1-888-475-9131,
        extension 4718. Case number is 3040053. I am sure you're aware, but
        ma'am, I've tried to contact you last week as well due to this. Thank you.

        February 20, 2009 – Cellular Phone
        Hi, Sandy Fillichio, ma'am, once again, this is Mr. Griffith with the office of
        Redline. I'm only here till 4:30 Eastern today. Again, I'm trying to get in
        contact with you regarding this pending case for my client, Bank of
        America. Office number is 1-888-475-9131, extension 4718. Case number is
        3040053.

        February 25, 2009 – Cellular Phone
        Hi, Sandra Fillichio, Mr. Griffith once again. I need you to contact the office
        immediately. 1-888-475-9131, extension 4718. Case number is 3040053.

        February 26, 2009 – Cellular Phone
        Hi, Sandra Fillichio, ma'am, my name once again is Mr. Griffith at the office
        of Redline. I've been trying to reach you now for a couple weeks. I had
        spoken to a woman, I didn't want to disclose your personal information to
        her, but I have a pending civil case I have been retained to file through
        Broward County on a former US Bank. I may be able to help you avoid this
        situation, ma'am, possibly even get you a reduction with this, but I need to
        hear from yourself, a spouse, or legal representation as soon as possible. And
        uh, this recommendation has to be made to proceed as of March 1st. So we
        literally have tonight until 9 PM and tomorrow until 5 PM Eastern to at least
        get this documented if we're going to need any type of extension or
        anything. You need to contact the office ma'am as soon as this is received at
        1-888-475-9131, extension is 4718. Case number is 3040053.

        February 27, 2009 – Cellular Phone
        Hi, uh Sandra Fillichio, this is Mr. Griffith once again with the office of
        Redline, ma'am. I've been trying to contact you now for approximately 30
        days. I've been trying to make it clear to you exactly how important this is
        that we speak. Uh, I've been retained by my client, which is Bank of
        America, to file for civil judgment through Broward County here, former
        Visa. If you contact me ma'am either in the next half an hour today or
        between 8 and noon tomorrow prior to March 1st, when I have to notify the
        client to proceed. There's a few ways I can still help you avoid any further

                                           3
Case 0:10-cv-60809-WJZ Document 1 Entered on FLSD Docket 05/14/2010 Page 4 of 16




        action and possibly get you a reduction on this or a few different ways to
        avoid any court proceedings. Contact me right away ma'am, at 1-888-475-
        9131.

        March 6, 2009 – Cellular Phone
        Hi, this message is for Sandra Fillichio. Sandra, my name is Mr. Griffith at
        the office of Redline, ma'am. As you can tell, I've been trying to reach you
        now 30 days. As of today at 4:30 PM Eastern Standard time I have to notify
        my client whether or not to proceed against you through Broward County for
        this Bank of America. Again, at this point, there is a few ways I can help you
        avoid this case, ma'am, but I need to hear from you right away. The number
        is 1-888-475-9131, extension 4718. Case number 3040053.

        March 13, 2009 – Home Phone
        This message is intended solely for Sandra Filli, Fillichio. Sandra, this is
        Keanna calling with Redline Recovery. Please give me a call when you get
        this message in regards to file 3040053, our toll free number to the office is
        888-475-9131 and my extension 41, I am sorry, it is 4983. Again, that is
        extension 4983.

        March 20, 2009, 11:38 AM – Home Phone
        This message is for Sandra Fillichio, file 3040053. Sandra, this is Keanna
        calling with Redline Recovery. Trying to reach you today again, in reference
        to the paperwork here in my office. At this time Sandra, a decision needs to
        be made on your behalf, whether you are going to handle this matter
        voluntarily or not. Give me a call when you get this message 888-475-9131.
        I can be reached directly at extension 4983.

        March 20, 2009, 11:40 AM – Cellular Phone
        This message is intended for Sandra Fillichio, file 3040053. Sandra, this is
        Keanna calling once again with Redline Recovery. I have tried contacting
        you several times and I have left you several messages in regards to the
        paperwork placed here in my office. At this time, Sandra, I need for you to
        contact me if this is something that you plan to resolve on voluntary basis.
        Our number here that you can reach me at is toll free 888-475-9131, my
        direct extension is 4983. When calling do reference file 3040053. Sandra, I
        will be here in the office today until about 3:30 PM Eastern Standard time.
        Thank you.

        March 26, 2009 – Home Phone

                                           4
Case 0:10-cv-60809-WJZ Document 1 Entered on FLSD Docket 05/14/2010 Page 5 of 16




        This message is for Sandra Fillichio, if you are not Sandra, please hang up.
        Sandra, in accordance with Federal Law, the purpose of this call is to collect
        a debt by a debt collector at Redline Recovery Services. Please contact Chris
        Webster at 1-866-316-3248 and my direct extension is 4716. Thank you.

        March 27, 2009 – Home Phone
        This message is for Sandra Fillichio, if you are not Sandra, please hang up.
        Sandra, in accordance with Federal Law, the purpose of this call is to collect
        a debt by a debt collector at Redline Recovery Services. Please contact Chris
        Webster at 1-866-316-3248. My direct extension here is 4716. Thank you.

        March 28, 2009, 11:06 – Home Phone
        This message is for Sandra Fillichio, if you are not Sandra, please hang up.
        Sandra in accordance with Federal Law, the purpose of this call is to collect
        a debt by a debt collector at Redline Recovery Services. Please contact Chris
        Webster at 1-866-316-3248, direct extension 4716. Thank you.

        March 28, 2009, 11:08 AM – Cellular Phone
        This message is for Sandra Fillichio. If you are not Sandra, please hang up.
        Sandra, in accordance with Federal Law, the purpose of this call is to collect
        a debt by a debt collector at Redline Recovery Services. Please contact Chris
        Webster at 1-866-316-3248, my direct extension is 4716. Thank you.

        March 30, 2009, 8:18 AM – Home Phone
        This message is for Sandra Fillichio, if you are not Sandra, please hang up.
        Sandra in accordance with Federal Law, the purpose of this call is to collect
        a debt by a debt collector at Redline Recovery Services. Please contact Chris
        Webster at 1-866-316-3248, my direct extension is 4716. Thank you.

        March 30, 2009, 8:20 AM – Cellular Phone
        This message is for Sandra Fillichio. If you are not Sandra, please hang up.
        Sandra, in accordance with Federal Law, the purpose of this call is to collect
        a debt by a debt collector at Redline Recovery Services. Please contact Chris
        Webster at 1-866-316-3248, extension 4716. Thank you.

        April 1, 2009, 1:49 PM – Home Phone
        This message is for Sandra Fillichio, if you are not Sandra, please hang up.
        Sandra in accordance with Federal Law, the purpose of this call is to collect
        a debt by a debt collector at Redline Recovery Services. Please contact Chris
        Webster at 1-866-316-3248, my direct extension is 4716. Thank you.

                                           5
Case 0:10-cv-60809-WJZ Document 1 Entered on FLSD Docket 05/14/2010 Page 6 of 16




        April 1, 2009, 1:52 PM – Cellular Phone
        This message is for Sandra Fillichio. If you are not Sandra, please hang up.
        Sandra in accordance with the Federal Law, the purpose of this call is to
        collect a debt by a debt collector at Redline Recovery Services. Please
        contact Chris Webster at 1-866-316-3248. My direct extension is 4716.
        Thank you.

        April 2, 2009 – Home Phone
        This message is for Sandra Fillichio, if you are not Sandra, please hang up.
        Sandra in accordance with Federal Law, the purpose of this call is to collect
        a debt by a debt collector at Redline Recovery Services. Please contact Chris
        Webster at 1-866-316-3248, direct extension is 4716. Thank you.

        April 3, 2009, 8:35 AM – Home Phone
        This message is for Sandra Fillichio, if you are not Sandra, please hang up.
        Sandra in accordance with Federal Law, the purpose of this call is to collect
        a debt by a debt collector at Redline Recovery Services. Please contact Chris
        Webster at 1-866-316-3248, direct extension 4977. Thank you.

        April 3, 2009, 8:37 AM – Cellular Phone
        This message is for Sandra Fillichio. If you are not Sandra, please hang up.
        Sandra in accordance with the Federal Law, the purpose of this call is to
        collect a debt by a debt collector at Redline Recovery Services. Please
        contact Chris Webster at 1-866-316-3248, extension 4977.

        April 17, 2009 – Cellular Phone
        Good afternoon, this message is for Sandra Fillichio. Sandra my name is
        Michelle I’m representing Redline Recovery Services, please return my call,
        I will be in my office today April 17, until 4:30 PM, toll free number 1-888-
        475-9131 extension 4723.

        May 15, 2009 – Home Phone
        This message is for Sandra Fillichio, File 3040053. Sandra, this is Keanna
        calling with Redline Recovery. I need for you to contact my office today or
        you may have your legal representative to contact me. Our phone number
        here is 888-475-9131. My personal extension is 4715.

        May 19, 2009, 8:33 AM – Home Phone



                                           6
Case 0:10-cv-60809-WJZ Document 1 Entered on FLSD Docket 05/14/2010 Page 7 of 16




        Sandra Fillichio. It’s Keanna calling with Redline Recovery. If you could
        give me a call today 888-475-9131 extension 4715. When calling
        do reference file 3040053.

        May 19, 2009, 8:38 AM – Cellular Phone
        Sandra Fillichio. It’s Keanna, with Redline Recovery. I need for you to give
        me a call today at 888-475-9131, extension 4715.

        June 17, 2009 – Cellular Phone
        Hi. This message is for Sandra Fillichio. If we have reached this number in
        error, please contact us at 1-888-475-9131 extension 4837. If you are not
        Sandra, please hang up. If you are Sandra, please continue to listen to this
        message. There will now be a 3 second pause in this message. By
        continuing to listen to this message, you acknowledge you are Sandra. Miss
        Fillichio you should not listen to this call in the presence of others as it
        contains personal information. This is Jarris Rainey from Redline Recovery
        Services and this communication is from a debt collector. This is an attempt
        to collect a debt. Any information obtained will be used for that purpose.
        Please contact me about an important business matter at 1-888-475-9131
        extension 4837. Thank you. I look forward to speaking with you soon.
        Have a nice day.

        June 18, 2009, 11:42 AM – Home Phone
        Hi! This message is for Sandra Fillichio. If you are not Sandra Fillichio,
        please hang up. If you are Sandra, please continue to this listen where there
        will now be a 3 second pause. By continuing to listen to this message, you
        acknowledge that you are Sandra. Mrs. Fillichio, you should not listen to this
        presen — this call — in the presence of others as it contains personal
        information. This is Jarris Rainey calling from Redline Recovery Services.
        This communication is from a debt collector in an attempt to collect a debt
        and any information obtained will be used for that purpose. Please contact
        me about this matter at 1-888-475-9131 extension 4837. I am in the office
        from 8:00 AM until 4:30 PM Eastern Standard Time. If we have reached the
        wrong number for this person please call us back at 1-888-475-9131
        extension 4837. Thank you, I look forward to speaking with you and have a
        nice day.

        June 18, 2009, 11:50 AM – Cellular Phone
        Hi. This message is for Sandra Fillichio. If you are not Sandra Fillichio,
        please hang up. If you are Sandra, please continue to listen to this message

                                           7
Case 0:10-cv-60809-WJZ Document 1 Entered on FLSD Docket 05/14/2010 Page 8 of 16




        where there will now be a 3 second pause. By conti — continuing to listen to
        this message, you acknowledge that you are Sandra. Mrs. Fillichio you
        should not listen to this call in the presence of others as it contains personal
        information. This is Jarris Rainey calling from Redline Recovery Services.
        This communication is from a debt collector in an attempt to collect a debt
        and any information obtained will be used just for that purpose. Please
        contact me about this important business matter at 1-888-475-9131
        extension 4837. I am in the office from 8:00 AM until 4:30 PM Eastern
        Standard Time. If we have reached the wrong number for this person, please
        contact us at 1-888-475-9131 extension 4837. Thank you and I do look
        forward to speaking with you soon. Have a nice day.

        June 19, 2009, 11:40 AM – Home Phone
        Hi. This message is for Sandra Fillichio. If you are not Sandra Fillichio,
        please hang up. If you are Sandra Fillichio, please con—continue to listen to
        this message where there will now be a 3 second pause. By continuing to
        listen to this message you acknowledge that—that you are Sandra Fillichio.
        Mrs. Fillichio, you should not listen to this call in the presence of others as it
        contains personal information. This is Jarris Rainey calling from Redline
        Recovery Services. This communication is from a debt collector in an
        attempt to collect a debt and any information obtained will be used for that
        purpose. Please contact me as soon as possible so we can discuss how I can
        save you a substantial discount on your current debt. My number is 1-888-
        475-9131 extension 4837. I am in the office from 8:00 AM until 4:30 PM
        Eastern Standard Time. If we have reached the wrong number for this
        person, then please call us back at 1-888-475-9131 extension 4837. I hope to
        speak with you soon. Thank you and have a nice day.

        June 19, 2009, 2:47 PM – Home Phone
        Hi. This message is for Sandra Fillichio. If you are not Sandra, please hang
        up. If you are Sandy, please continue to listen to this message where now—
        there will now be a 3 second pause. By continuing to listen to this message,
        you acknowledge that you are Sandy. Ms. Fillichio you should not listen to
        this call in the presence of others as it contains personal information. This is
        Jarris Rainey calling from Redline Recovery Services. This communication
        is from a debt collector in an attempt to collect a debt and any information
        obtained will be used for that purpose. Please contact me about this as soon
        as possible so we can talk about how I can save you a substantial discount on
        this current debt. My name is—my number is 1-888-475-9131 extension
        4837. I am in the office from 8:00 AM until 4:30 PM Eastern Standard

                                             8
Case 0:10-cv-60809-WJZ Document 1 Entered on FLSD Docket 05/14/2010 Page 9 of 16




        Time. If we have reached this number in error for Ms. Sandy, please contact
        us at 1-888-475-9131 extension 4837. Thank you and I look forward to
        speaking with you soon.

        June 19, 2009 – Cellular Phone
        Hi. This message is for Sandy Fillichio. If you are not Sandy, then please
        hang up. If you are Sandy, then please continue to listen to this message
        where there will now be a 3 second pause. By continuing to listen to this
        message, you acknowledge that you are Sandy. Ms. Fillichio you should not
        listen to this call in the presence of others as it contains personal
        information. This is Jarris Rainey calling from Redline Recovery Services.
        This communication is from a debt collector in an attempt to collect a debt
        and any information obtained will be used for that purpose. Please contact
        me about this as soon as possible so we can discuss how I can save you a
        substantial discount on your debt. My number is 1-888-475-9131 extension
        4837. I am in the office from 8:00 AM until 4:30 PM Eastern Standard
        Time. If we have reached the wrong number for Sandy, please call this
        number at 1-888-475-9131 extension 4837. Thank you and I look forward
        to speaking with you soon.

        June 22, 2009, 8:11 AM – Home Phone
        Hi Sandy. This is Jarris Rainey. Can you give me a call back at 1-888-475-
        9131 extension 4590. I am in the office from 8:00 AM until 4:30 PM
        Eastern Standard Time.

        June 22, 2009 at 10:52 AM – Home Phone
        Hi. This message is for Sandy Fillichio. If you are not Sandy, then please
        hang up. If you are Sandy, then please continue to listen to this message.
        By continuing to listen to this message, you acknowledge that you are Sandy
        Fillichio. Ms. Fillichio you should not listen to this call in the presence of
        others as it contains personal information. This is Jarris Rainey calling from
        Redline Recovery Services. This communication is from a debt collector in
        an attempt a debt and any information obtained will be used for this purpose.
        Could you please contact me about this important business matter at 1-888-
        475-9131 extension 4590. I am in the office from 8:00 AM until 4:30 PM
        Eastern Standard Time.

        June 23, 2009, 8:10 AM – Cellular Phone




                                           9
Case 0:10-cv-60809-WJZ Document 1 Entered on FLSD Docket 05/14/2010 Page 10 of 16




        Hi Sandy. This is Jarris Rainey. Can you give me a call back at 1-888-475-
        9131 extension 4590. I am in the office from 8:00 AM until 4:30 PM
        Eastern Standard Time.

        July 9, 2009 – Cellular Phone
        Hi. This message is for Sandy Fillichio. This is Jarris Rainey calling for
        Redline Recovery Services. It’s urgent that we speak. My direct number is
        716-250-4739 or toll free at 1-888-475-9131 extension 4739.

        July 24, 2009, 8:56 AM – Cellular Phone
        Hi Sandy Fillichio, this is Jarris Rainey. You can return my call as soon as
        you get this message at 1-888-475-9131 extension 4739. Thank you.

        11.    Defendant left similar or identical messages on other occasions.

  (Collectively, “the telephone messages”).

        12.    The messages are “communications” as defined by 15 U.S.C.

  §1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-60660-Civ-

  Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).

        13.    Defendant failed to inform Plaintiff in some of the messages that the

  communication was from a debt collector and failed to disclose the purpose of

  Defendant’s messages and failed to disclose Defendant’s name.

        14.    Defendant used an automatic telephone dialing system or a pre-

  recorded or artificial voice to place telephone calls to Plaintiff’s cellular telephone.

        15.    Plaintiff did not expressly consent to Defendant’s placement of

  telephone calls to Plaintiff’s cellular telephone by the use of an automatic

  telephone dialing system or a pre-recorded or artificial voice prior to Defendant’s

  placement of the calls.

                                             10
Case 0:10-cv-60809-WJZ Document 1 Entered on FLSD Docket 05/14/2010 Page 11 of 16




        16.    None of Defendant’s telephone calls placed to Plaintiff were for

  “emergency purposes” as specified in 47 U.S.C § 227 (b)(1)(A).

        17.    Defendant willfully or knowingly violated the TCPA.

                             COUNT I
          FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR

        18.    Plaintiff incorporates Paragraphs 1 through 17.

        19.    Defendant failed to disclose in the telephone messages that it is a debt

  collector in violation of 15 U.S.C. §1692e(11). See Foti v. NCO Fin. Sys., 424 F.

  Supp. 2d 643, 646 (D.N.Y. 2006) and Belin v. Litton Loan Servicing, 2006 U.S.

  Dist. LEXIS 47953 (M. D. Fla. 2006) and Leyse v. Corporate Collection Servs.,

  2006 U.S. Dist. LEXIS 67719 (D.N.Y. 2006).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

  Plaintiff and against Defendant for:

               a.     Damages;

               b.     Attorney’s fees, litigation expenses and costs of suit; and

               c.     Such other or further relief as the Court deems proper.

                          COUNT II
      FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY

        20.    Plaintiff incorporates Paragraphs 1 through 17.

        21.    Defendant placed telephone calls to Plaintiff without making

  meaningful disclosure of its identity when it failed to disclose its name, that it is a



                                             11
Case 0:10-cv-60809-WJZ Document 1 Entered on FLSD Docket 05/14/2010 Page 12 of 16




  debt collector, and the purpose of Defendant’s communication in the telephone

  messages in violation of 15 U.S.C §1692d(6). See Valencia v The Affiliated Group,

  Inc., Case No. 07-61381-Civ-Marra/Johnson, 2008 U. S. Dist. LEXIS 73008,

  (S.D.Fla., September 23, 2008); Wright v. Credit Bureau of Georgia, Inc., 548 F.

  Supp. 591, 593 (D. Ga. 1982); and Hosseinzadeh v. M.R.S. Assocs., 387 F. Supp.

  2d 1104 (D. Cal. 2005).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

  Plaintiff and against Defendant for:

                a.    Damages;

                b.    Attorney’s fees, litigation expenses and costs of suit; and

                c.    Such other or further relief as the Court deems proper.

                        COUNT III
   TELEPHONIC HARASSMENT AND ABUSE BY EXCESSIVE CALLING

        22.     Plaintiff incorporates Paragraphs 1 through 17.

        23.     Defendant caused Plaintiff’s telephone to ring repeatedly or

  continuously with the intent to annoy, abuse or harass in violation of 15 U.S.C

  §1692d(5). See Sanchez v. Client Servs., 520 F. Supp. 2d 1149, 1160-1161 (N.D.

  Cal. 2007).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

  Plaintiff and against Defendant for:

                a.    Damages;

                                           12
Case 0:10-cv-60809-WJZ Document 1 Entered on FLSD Docket 05/14/2010 Page 13 of 16




               b.     Attorney’s fees, litigation expenses and costs of suit; and

               c.     Such other or further relief as the Court deems proper.

                          COUNT IV
     TELEPHONIC HARASSMENT AND ABUSE FOR UNAUTHORIZED
              CALLS TO A CELLULAR TELEPHONE

        24.    Plaintiff incorporates Paragraphs 1 through 17.

        25.    Defendant engaged in conduct the natural consequence of which is to

  harass, oppress, or abuse by using an automatic telephone dialing system or pre-

  recorded or artificial voice in placing telephone calls to Plaintiff’s cellular

  telephone to which Plaintiff had not consented, in violation of 15 U.S.C §1692d.

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

  Plaintiff and against Defendant for:

               a.     Damages;

               b.     Attorney’s fees, litigation expenses and costs of suit; and

               c.     Such other or further relief as the Court deems proper.

                          COUNT V
      ILLEGAL COLLECTION TECHNIQUES IN VIOLATION OF THE
         FLORIDA CONSUMER COLLECTION PRACTICES ACT

        26.    Plaintiff incorporates Paragraphs 1 through 17.

        27.    Defendant asserted the right to collect a debt by leaving telephone

  messages for Plaintiff without disclosing that it is a debt collector and the purpose




                                             13
Case 0:10-cv-60809-WJZ Document 1 Entered on FLSD Docket 05/14/2010 Page 14 of 16




  of its communications and its name when Defendant knew it did not have a legal

  right to use such collection techniques in violation of Fla. Stat. §559.72(9).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

  Plaintiff and against Defendant for:

               a.     Damages;

               b.     Attorney’s fees, litigation expenses and costs of suit;

               c.     declaring that Defendant’s practices violate the FCCPA;

               d.     permanently injoining Defendant from engaging in the

               complained of practices; and

               e.     Such other or further relief as the Court deems proper.

                          COUNT VI
       HARASSMENT IN VIOLATION OF THE FLORIDA CONSUMER
                 COLLECTION PRACTICES ACT

        28.    Plaintiff incorporates Paragraphs 1 through 17.

        29.    By failing to disclose that it is a debt collector, its name and the

  purpose of its communication, by using an automatic telephone dialing system or

  pre-recorded or artificial voice in placing telephone calls to Plaintiff’s cellular

  telephone to which Plaintiff had not consented, and by telephoning Plaintiff with

  such frequency as can be reasonably be expected to harass, Defendant willfully

  engaged in conduct the natural consequence of which is to harass in violation of

  Fla. Stat. §559.72(7).


                                             14
Case 0:10-cv-60809-WJZ Document 1 Entered on FLSD Docket 05/14/2010 Page 15 of 16




         30.    The FCCPA provides for equitable relief including injunctive relief.

  Berg v. Merchs. Ass'n Collection Div., 586 F. Supp. 2d 1336, 1345, (S.D. Fla.

  2008).

         WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

  Plaintiff and against Defendant for:

                a.    Damages;

                b.    Attorney’s fees, litigation expenses and costs of suit;

                c.    declaring that Defendant’s practices violate the FCCPA;

                d.    permanently injoining Defendant from engaging in the

                complained of practices; and

                e.    Such other or further relief as the Court deems proper.

                          COUNT VII
    VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT

         31.    Plaintiff incorporates Paragraphs 1 through 17.

         32.    Defendant placed non-emergency telephone calls to Plaintiff’s cellular

  telephone using an automatic telephone dialing system or pre-recorded or artificial

  voice without Plaintiff’s prior express consent in violation of 47 U.S.C § 227

  (b)(1)(A)(iii).

         WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

  Plaintiff and against Defendant for:

                a.    Damages;

                                            15
Case 0:10-cv-60809-WJZ Document 1 Entered on FLSD Docket 05/14/2010 Page 16 of 16




               b.    a declaration that Defendant’s calls violate the TCPA;

               c.    a permanent injunction prohibiting Defendant from placing

               non-emergency calls to the cellular telephone of any person using an

               automatic telephone dialing system or pre-recorded or artificial voice

               without the prior express consent of the called party; and

               d.    Such other or further relief as the Court deems proper.

                                       JURY DEMAND

         Plaintiff demands trial by jury.

                                            DONALD A. YARBROUGH, ESQ.
                                            Attorney for Plaintiff
                                            Post Office Box 11842
                                            Ft. Lauderdale, FL 33339
                                            Telephone: 954-537-2000
                                            Facsimile: 954-566-2235
                                            donyarbrough@mindspring.com


                                      By: s/ Donald A. Yarbrough
                                         Donald A. Yarbrough, Esq.
                                         Florida Bar No. 0158658




                                             16
